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  8                            UNITED STATES DISTRICT COURT
  9                        SOUTHERN DISTRICT OF CALIFORNIA
 10
 11    UNITED STATES OF AMERICA                                 CASE NO. 01cr1652 JM
                                                                CIVIL NO. 07cv0496 JM
 12                               Plaintiff-Respondent,
                vs.                                             ORDER DENYING MOTION FOR
 13                                                             LEAVE TO PROCEED IN FORMA
       VICTOR SAVCHENKO                                         PAUPERIS; SCHEDULING ORDER
 14
                               Defendant-Petitioner.
 15
 16          On or about March 16, 2009 Petitioner filed a Motion to Vacate, Set Aside or Correct a
 17   Sentence Pursuant to 28 U.S.C. §2255 (“Motion”) accompanied by an in forma pauperis motion. This
 18   order addresses the in forma pauperis motion and sets a briefing scheduling on the Motion.
 19   MOTION FOR LEAVE TO PROCEED IN FORMA PAUPERIS
 20          Petitioner moves to proceed in forma pauperis pursuant to 28 U.S.C. §1915. That statute
 21   permits indigent individuals to commence or prosecute an action without prepayment of filing fees.
 22   Because motions brought pursuant to 28 U.S.C. §2255 do not require the payment of filing fees, the
 23   motion is denied as moot.
 24   SCHEDULING ORDER
 25          1. RESPONDENT IS ORDERED to file an answer or other responsive pleading to the
 26   Motion. Respondent shall file the pleading no later than May 15, 2009. The answer shall include any
 27   and all transcripts or other documents relevant to the determination of the issues presented in the
 28   Motion.


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  1          2. RESPONDENT IS FURTHER ORDERED to serve a copy of the pleading upon the
  2   Petitioner concurrent with the filing of the pleading with the Court.
  3          3. IT IS FURTHER ORDERED that if Petitioner wishes to reply to the pleading, a traverse
  4   or other appropriate pleading must be filed no later than June 19, 2009.
  5          4. IT IS FURTHER ORDERED that Petitioner shall serve upon Respondent a copy of every
  6   further pleading or other document submitted for this Court’s consideration. Petitioner shall include
  7   with the original paper to be filed with the Clerk of Court a certificate of service stating the manner
  8   in which a true and correct copy of any document was served on the Respondent or Respondent’s
  9   counsel and the date of service. Any paper received by a district judge or magistrate judge which has
 10   not been filed with the clerk or which fails to include a certificate of service will be disregarded by
 11   the Court.
 12          5. IT IS FURTHER ORDERED that the Clerk of Court shall serve a copy of this order and
 13   the Motion on the United States Attorney General or an authorized representative.
 14          6. IT IS FURTHER ORDERED that this matter is appropriate for decision without oral
 15   argument pursuant to Local Rule 7.1(d)(1).
 16          IT IS SO ORDERED.
 17   DATED: March 30, 2009
 18
                                                        Hon. Jeffrey T. Miller
 19                                                     United States District Judge
      cc:          All parties
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